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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

MICHAEL M. McCLOUD                                                       PLAINTIFF

v.                         CASE NO. 4:13CV00045 BSM

UNITED STATES OF AMERICA                                               DEFENDANT

                                    JUDGMENT

      Consistent with the order entered this day, this case is hereby dismissed without

prejudice.

      IT IS SO ORDERED this 29th day of January 2015.


                                               ________________________________
                                                UNITED STATES DISTRICT JUDGE
